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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

UNITED STATES OF AMERICA         *
                                 *
V                                *   CRIMINAL ACTION NUMBER
                                 *   1:23-cr-00047-MHC-JEM
KRISTOPHER KNEUBUHLER,           *
                                 *
    Defendant.                   *

  DEFENDANT’S PRELIMINARY OBJECTION TO GOVERNMENT’S MOTION FOR
    APPLICATION FOR WRIT OF EXECUTION, TO APPOINT SUBSTITUTE
CUSTODIAN IN AID OF EXECUTION, AND TO AUTHORIZE THE COMMERCIALLY
              REASONABLE SALE OF PERSONAL PROPERTY
               WITH INCORPORATED BRIEF IN SUPPORT

    Come now the Defendant, by and through undersigned counsel,

and files a preliminary objection to the Government’s Motion for

Writ of Execution.    In support of this Motion, the Defendant

shows as follows:


    On April 10, 2024, Mr. Kneubuhler was sentenced for

possessing child pornography. In addition to a term of

imprisonment of 57 months, the Court imposed a $100.00 special

assessment, $5,000.00 JVTA assessment, $10,000.00 assessment and

$20,500.00 restitution. (Doc. 72). Payment of restitution was to

be made in accordance with the Agreed Restitution Order, which

stated, “restitution is due in full and payable immediately from

assets known and unknown…” (Doc. 70). The assessments were to be

paid “in equal monthly (e.g., weekly, monthly, quarterly)

installments of $250.00 or 25% of gross monthly income in excess
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of $2,500, to commence 30 days (e.g., 30 or 60 days) after

release from imprisonment to a term of supervision.”

           On April 12, 2024, the Government filed a surprise series

of pleadings with attachments. Titled “Writ of Execution” and

“Application for Writ of Execution”, the Government expressed

their intent to seize and sell several pinball machines located

in Mr. Kneubuhler business showroom. (Doc. 75 and 76).1

Essentially, the Government wants to seize the pinball machines

and sell them to pay off the court ordered assessments and

restitution. The proposed Order also relieves the moving and

selling company of any liability for damages to the pinball

machines. (Doc. 75-2).

           Mr. Kneubuhler objects to the Government’s Motion for Writ

of Execution and proposed Order. His objections may include, but

not be limited to, (1) The pinball machines are a business

asset, not his personal property, (2) Proceeds from the sale of

the pinball machines can be applied to restitution only; and (3)

The moving and selling company should be liable for any damage

to the pinball machines.

           Mr. Kneubuhler requests an additional 20 days to supplement

his objection with supporting documentation and information. In




1
    These pleadings were not served on opposing counsel until April 16, 2024.
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the meantime, Mr. Kneubuhler is respectfully requesting this

Honorable Court withhold a ruling on the Government’s motion.


                                             Respectfully submitted,


                                             s/Steven Berne____________
                                             STEVEN P. BERNE
                                             ATTORNEY FOR DEFENDANT
                                             GEORGIA BAR NO. 055020

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         CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1C

    This is to certify that the foregoing document was formatted

in accordance with Local Rule 5.1C in Courier New font, 12 point

type.

                       CERTIFICATE OF SERVICE

    This is to certify that I have this day served upon counsels

of record in this case a copy of the foregoing document via the

Electronic Case Filing system of the United States District Court

for the Northern District of Georgia.



    This ___17_____ day of ____April_________________, 2024.




                                             Respectfully submitted,


                                             s/Steven Berne____________
                                             STEVEN P. BERNE
                                             ATTORNEY FOR DEFENDANT
                                             GEORGIA BAR NO. 055020

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